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                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,          )
                                   )
               Plaintiff,          )          CRIMINAL ACTION
                                   )
v.                                 )          No. 12-10089-01-23
                                   )
Jason Najera, Pedro Garcia,        )
Gonzalo Ramirez, Russell Worthey, )
Anthony Wright, Joshua Flores,     )
Jesus Flores, Angel Cerda,         )
Juan Torres, Alfredo Beltran-Ruiz, )
Donte Barnes, Jesus Sanchez,       )
Enrique Gobin, Alfonso             )
Banda-Hernandez, Andrew Gusman,    )
Eusebio Sierra-Medrano, Jayson     )
Vargas, Adam Flores, Fabian Neave, )
Jesus Torres, Jose Neave, Hernan   )
Quezada,                           )
                                   )
               Defendants.         )
                                   )

                           MEMORANDUM AND ORDER
     On April 16, 17 and 18, 2013, the court held so-called Daubert
hearings with respect to two officers the government has identified
as expert witnesses about gang activity in Dodge City, Kansas.
Defendants were present with counsel and, following the extensive
direct testimony of both officers, all counsel had the opportunity to
question the officers with respect to their qualifications and the
substance of their anticipated testimony and opinions.             Most elected
not to question the officers, perhaps recognizing that they had gotten
far more details from the officers’ direct testimony than from any
Rule 16 disclosures.1

     1
     Mr. Mandelman, one of the public defenders representing Ramirez
has asked the court to strike the government’s Rule 16 disclosure
(Doc. 297) because it does not clearly delineate the witnesses’
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     Following the conclusion of the three days of testimony, defense
counsel were offered the additional opportunity to file objections to
the officers’ qualifications and opinions.            The court has reviewed
defendants’ submissions (Docs. 608, 609, 610, 611, 612, 613, 616, 617,
618, 619, 621, 622, 623, 624, 625, 626, 626-1 and 627).             The majority
of the defendants simply elected to join in submissions filed by a few
of their codefendants.2
     Although the term “Daubert hearing” has become common to describe
challenges to the testimony of expert witnesses, the analysis of the
officers’ proposed testimony more properly falls under Fed. R. Evid.
702 and 703 and applicable case law. Therefore, it is important to
remember what this case is about, and not about.
     On April 16, 2012, the grand jury returned an indictment against
23 defendants.    The indictment alleges 38 counts, including charges
of violent crimes in aid of racketeering, conspiracy and felon in
possession of a firearm.     The indictment alleges that defendants were
in a criminal organization, the Nortenos gang, whose members engaged
in narcotics distribution and acts of violence including murder and
robbery.   These crimes were alleged to have been committed in Dodge
City, Kansas, population around 27,000.              The indictment further



testimony (Doc. 619 at 6-7). The disclosure was filed in September
2012. Mr. Mandelman does not explain why he waited until after the
Daubert hearings to move to strike the disclosure. If he believed the
disclosure was inadequate (which it isn’t), then it was inadequate at
the time of filing, not many months later. The court notes that Mr.
Mandelman was present during all three days of testimony. If there
is something he still believes was not clearly delineated, he does not
identify it. Ramirez’s motion to strike is denied.
     2
      The following motions to join are granted. (Docs. 609, 610,
611, 613, 616, 617, 618, 622, 623, 625, 626, 627).

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alleges that the racketeering conspiracy began in 2008 and continued
through the date of the indictment.
     It is readily apparent that to a great extent, this case is about
gangs, gang membership and gang activity. At least as early as United
States v. Robinson, 978 F.2d 1554, 1562-64 (10th Cir. 1992), the
Circuit has recognized the admissibility of gang-related evidence.
Robinson was decided before Daubert but no post-Daubert Tenth Circuit
case has held that expert testimony regarding gangs is inadmissible.
A recent example is United States v. Roach, 582 F.3d 1192 (10th Cir.
2009).   Over objection, the district judge allowed a Wichita Police
Department officer to give the following testimony:
          Miller went on to give expert testimony about “the
     types of tools of the trade that people who are affiliated
     with gangs, specifically the Neighborhood Crips, carry or
     maintain,” explaining that firearms are such a tool and are
     used to protect drugs and to battle with other gangs. He
     also testified that gang members commonly use certain slang
     present in the letters from Roach to Hughes, including
     replacing the letters “ck” with the letters “cc.” Finally,
     he told the jury that drug dealers often use colored lights
     to guide their customers, and that a blue bulb in
     particular indicates an association with the Crips, who
     identify with the color blue.
Id. at 1199.
     On appeal, the Circuit ruled that admission of the testimony was
error, albeit harmless, but not because the detective’s testimony was
irrelevant.    The error was the court’s failure to make the requisite
Rule 702 Daubert analysis and findings. The Circuit noted that “other
circuits have similarly allowed expert police testimony on street
gang’s   use   of   slang,    signifying     colors,    and   other    indicia   of
membership or activity.”        Id. at 1207 (citations omitted).
     It is reasonable to assume that most, if not all, of the


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prospective jurors are not now, and have not been, gang members, and
will be unfamiliar with gang activity in and around Dodge City.
Proper expert testimony, including testimony by defendants’ gang
experts, if any, will be helpful to assist the jury to understand the
evidence.
                               Qualifications
     The qualifications of the officers, James Nau and Shane Webb, are
set forth in their resumes, attached as exhibits 1 and 2.                Only three
of the defendants have asserted any specific challenges to the
officers’ qualifications: Jason Vargas (Doc. 612), Gonzalo Ramirez
(Doc. 610) and Joshua Flores (Doc. 624).            It is significant that none
of the challenges to the officers’ qualifications is supported by
reference to applicable case authority; indeed, to any case authority.
     Vargas objects to the officers’ qualifications because they do
not have specialized education and knowledge of sociology, family
studies,    anthropology,    art   history     or   any   of    the   other   social
sciences.    Vargas does not explain why such specialized education
would be necessary, for example, to explain the significance and
meaning of gang colors, signs, graffiti and tattoos; how gangs in
Dodge City are structured and how rival gangs interact.                 Vargas goes
on to point out that neither officer has published any peer-reviewed
articles about gangs or testified as defense experts.                 This may, or
may not, be a persuasive basis for cross-examination at trial but it
is not a basis for disqualification.
     Vargas asserts that the officers lack qualifications to testify
about gangs because they have not been gang members themselves.                  No
authority is cited for this proposition, undoubtedly because there is

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none.3   The illogical extension of this proposition would be that a
law enforcement officer cannot qualify as an expert witness on the
illegal drug trade unless he or she is a drug dealer or a drug addict.
     Vargas objects that the fact that officer Webb grew up in Dodge
City does not make him any more knowledgeable than any other citizen
or potential juror.        This objection seems to presuppose that all
potential jurors are knowledgeable about gang activity in Dodge City,
an especially doubtful supposition since none of the petit jurors will
be drawn from Ford County.      One might ask: who is more knowledgeable
about Dodge City, someone who grew up there or someone, perhaps a
defense expert, whose knowledge of criminal activity in Dodge City
prior to being hired in this case came from watching reruns of
Gunsmoke?
     Finally, Vargas speculates that the officers have become hired
experts rather than “. . . someone with independent credentials in the
field of gang formation and social science.”                Whether the officers
will be compensated by the government can be the subject of cross-
examination. But if compensation is disqualifying, what about defense
experts?    Will they be appearing pro bono?          Hardly, in view of the
authorizations for payment already approved by the court.                   But the
bigger question is why would anyone assume that a defense expert will
have “independent credentials,” whatever those are?             It has been this
court’s experience that virtually every expert has either an agenda

     3
      It is possible that one or more of the defendants may elect to
use “gang experts.” If a defense expert has not been a gang member,
will counsel for another defendant object on that ground? Doubtful.
     It is also possible that some of the defendants will enter into
plea agreements and testify for the government. If this happens, they
will not be testifying as experts but rather as fact witnesses.

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or an identifiable bias to the side on which he or she testifies.
That’s how they get business and that’s why they’re hired.              The court
has yet to encounter an “expert” witness who is called by one side
notwithstanding having given opinions favorable to the other side of
the case.
     Ramirez’s objections are similar.            He acknowledges that while
both officers have “some training” about gangs, it is not specific to
the Nortenos.    But again, this objection presupposes that out there
somewhere is Nortenos/Dodge City-specific training that is essential
to the officers’ qualifications but which the officers missed.                If
there is, counsel has failed to identify it.            We’re not talking here
about the qualifications of a surgeon who never took basic courses in
human anatomy.    Will any defense expert have specific Nortenos/Dodge
City training?    Doubtful, once again.
     Flores objects to the officers’ qualifications because neither
has written or read academic articles about gangs in southwest Kansas.
The officers acknowledged that they have not written any academic
articles and counsel is free to cross-examine them on this topic if
he believes it will be effective.          But it is not disqualifying.       As
to not having read academic articles about Dodge City gangs, there is
no evidence that there are any such articles.
     The use of law enforcement officers as expert witnesses about
criminal activity is well-recognized.          The fact that the expert also
may be a fact witness or that some of the testimony technically may
be within Rule 701 is not disqualifying, United States v. DeSoto, 885
F.2d 354 (7th Cir. 1989) and United States v. Caballero, 277 F.3d
1235, 1247 (10th Cir. 2002) (“[b]oth Rules 701 and 702 distinguish

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between expert and lay testimony, not between expert and lay witnesses
. . . it is possible for the same witness to provide both lay and
expert testimony in a single case.”) See also United States v. Blake,
No. 07-8050, 2008 WL 2610474, at *9 (10th Cir. Jul 3, 2008).                            An
expert’s testimony can embrace the ultimate issue, so long as the
testimony assists, rather than supplants, the jury’s judgment. United
States v. Dazey, 403 F.3d 1147, 1171 (10th Cir. 2005).                   (This is not
to imply that the court endorses such opinions – they are problematic,
at best.)    The keys are reliability and helpfulness to the jury and,
as the cases cited in the next section demonstrate, expert testimony
by law enforcement officers is routinely received as helpful to jurors
who are not familiar with criminal activity.
     In summary, the court finds that officers Webb and Nau are
sufficiently     qualified        by    knowledge,     education,      training        and
experience to offer expert testimony about general aspects of gang
activity in and around Dodge City, Kansas, subject to the requirements
discussed in the following section.
                           Substance of the Testimony
     Defendant Garcia’s objections on the substance of the officers’
opinions are adopted by many of the co-defendants so his will be
examined    first.    (Doc.       608   at   5-6).      Garcia    objects       that    the
government     has   not    “proffered       any     evidence    of   reasoning        and
methodology used or applied . . .” by the officers.                         The court
disagrees.    Unlike law enforcement expert testimony which identifies
the kind and purity of a controlled substance by the use of scientific
tests and procedures, the methodology and reliability of an officer’s
testimony    regarding     gang    activity     must    be   evaluated    by     a     non-

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scientific approach.         In other words, for example, there is no
recognized scientific test to determine the meaning of gang graffiti.
This is made clear in cases like United States v. Mejia, 545 F.3d 179
(2nd   Cir.   2008)   (“An    appropriate    (admissible)       example      of   such
expertise would have been an expert’s explanation of how the graffiti
near a body indicated that the murderer was a member of MS-13 . . .”)
Id. at 195.    Rather, the reliability of the expert’s opinion must be
based on law enforcement methodology which, to a considerable extent,
must turn upon the training, education and experience of the officer
on that particular subject. Scientific methods are not required. See
United States v. Garza, 566 F.3d 1194, 1198-99 (10th Cir. 2009). “The
Daubert factors (peer review, publication, potential error rate, etc.)
simply are not applicable to this kind of testimony from a gang
expert,   whose   reliability     depends    heavily     on   the   knowledge      and
experience of the expert, rather than the methodology or theory behind
it.”   United States v. Thomas, No. 10-4725, 2012 WL 2951410, *5 (4th
Cir. July 20, 2012)(quoting United States v. Hankey, 203 F.3d 1160,
1168 (9th Cir. 2000)); A couple of examples are illustrative.
       In its expert disclosure (Doc. 297), the government mentioned
gang graffiti.     It is highly unlikely that jurors will be able to
decipher the meaning and significance of the graffiti displayed at the
hearings.     Webb and Nau’s ability to interpret gang graffiti was
acquired, at least in part, by conversations with individuals who may
or may not be Nortenos members.         (Both officers testified that they
spoke frequently with gang members.) Such conversations, if directly
related to jury, may be hearsay but as many defendants’ submissions
acknowledge, Rule 703 permits an expert’s opinion to be based on

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hearsay which, itself, does not need to be recited to the jury.
Rather, if such hearsay is reasonably relied upon by law enforcement
officers involved in investigation of gang activity (and the evidence
sufficiently established that it is), then the opinion is admissible,
hearsay notwithstanding.
     Another example is the roles or titles of gang members (“shot
callers,” “foot soldiers,” “pee wees”).            The government’s disclosure
identifies roles of gang members but not specific titles.                  The court
is satisfied that Webb and Nau can give reliable testimony on this
subject. The fact that the written disclosure does not mention titles
is irrelevant because the information was disclosed at the hearings.
     Identification of specific defendants’ roles is another matter.
The court will not speculate whether proper foundation could be laid
for such testimony.        But neither Webb nor Nau can offer expert
testimony that they learned from conversations with gang members that
a particular defendant is a “shot caller” who ordered a crime.
Clearly, such testimony would be offered for its truth and would
violate Crawford v. Washington, 541 U.S. 36, 124 S. Ct. 1354, 158 L.
Ed. 2d 177 (2004).
     The remainder of Garcia’s objections can be similarly rejected.
It is not necessary for the government to establish some sort of
scientific methodology in order for Webb and Nau to explain such
generic things as gang colors, signs and symbols, which undoubtedly
are subjects with which the jurors will be unfamiliar.
     Turning to Ramirez’s objections, he goes on at some length to
question   the   relevance   of   the    officers’      knowledge     of      gangs   in
California and their “link” to gangs in Dodge City.               The government’s

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disclosure noted “subsets” of the Nortenos and this apparently morphed
into substantial questioning of the officers about California gangs
which, at least at the time, seemed to the court to be tangential both
to the officers’ qualifications and to their opinions about gang
activity in Dodge City.     The court allowed this sort of far-reaching
line of inquiry because of the nature of the hearings.             Whether any
of it will be inquired into at trial, either         by the government or by
the defense, remains to be seen.         But once again, even though not
specifically disclosed, defense counsel have delved into the matter
and cannot claim surprise.
     Ramirez makes the obligatory Crawford objection, which the court
has just discussed.       He objects to the officers’ methodology as
“conclusory, ad hoc and repetitious,” apparently without recognizing
that his objections are no different.             He asserts that Kansas’
statutory definition of a gang member is of little relevance and does
not mean that a defendant who meets the state definition translates to
a finding that the Nortenos are an enterprise under federal law.            No
one says it does.4

     4
      The indictment alleges in Counts 1 and 2 that the Nortenos are
an “enterprise.” Count 1 charges a violation of 18 U.S.C. § 1962(d)
and numerous other counts charge violations of various subsections of
18 U.S.C. § 1959.      The Circuit has specifically held that the
existence of an enterprise is not an element of § 1962(d). United
States v. Harris, 695 F.3d 1125 (10th Cir. 2012). It has also held
that existence of an enterprise is an element of § 1959(a)(5). United
States v. Arrington, No. 09-2151, 2010 WL 4027823 (10th Cir. Oct. 15,
2010). The content of instructions is not relevant to the present
discussion but an instruction such as hypothesized by Ramirez seems
unlikely.
     The term “criminal street gang” is a term defined by Kansas
statute, K.S.A. 22-3901(j).      Thus Webb and Nau, as state law
enforcement officers, were guided to some extent by a statutory
framework in terms of what constitutes gang activity in Dodge City.
Based in part on the statute, Webb and Nau participated in the

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     Flores attacks the methodology of the officers’ opinions in a
manner, the logic is pretty obscure:
     Thus, the government’s proposed experts methodology for
     forming their expert opinion is to taking training about
     something that, may have some similarities, but cannot be
     said to be consistently similar over time geography, culture
     or group, to the subject of their proposed expertise and
     then render an opinion about the alleged gangs which are the
     subject of their proposed expertise based upon that
     training. In short, the government’s proposed experts have
     studied one thing and based upon their studies rendered an
     opinion about something that can not be said to be
     consistently similar to the thing studied. They are
     comparing apples and oranges and rendering reaching proposed
     expert opinions about the oranges based upon their training
     relating to apples. Such a methodology cannot be said to
     render reliable opinions. This is especially true as the
     government’s exhibits nor the testimony of their proposed
     experts reveal how the behavior, actions, language and
     operating procedures of the alleged gangs of Dodge City may
     differ from that of the gangs which were the subject of the
     witness’ training or from the behavior, actions, language
     and operating procedures of the same alleged gang at a
     different time.
(Doc. 624 at 3).
     If Flores’s point is that the officers’ (and particularly Webb’s)
training involved gangs other than the Nortenos and Surenos, it is not
well-taken.   No single authoritative, Dodge City/Nortenos/Surenos-
study has been identified, or likely will be identified in this case.
Assuming defense gang experts are identified, it seems reasonable to
assume that their opinions will be based, to some extent, on gangs



creation of written materials, including portions of the Dodge City
Police department Policy and Procedure Manual, which defines and
provides general information about the Nortenos and Surenos (Gov’t
Exs. 1 and 2). The officers were questioned in detail about these
materials.   It remains to be seen whether the materials, or any
portion thereof, will be offered into evidence at trials, whether by
the government or defense, or both. But the court observes that if
the materials did not exist, Ramirez’s counsel would attack the
officers’ opinions as mere speculation and ipse dixit.


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other than those in Dodge City.      Will Flores lodge similar objectives
to the methodology of defense experts?         Doubtful.
     The most straight-forward objection to the officers’ opinions is
made in a three page submission by David Rapp, counsel for Beltran-
Ruiz (Doc. 626).    He cites Judge Tena Campbell’s decision in United
States v. Kamahele, No. 2:08-cr-758, 2011 WL 3861576 (D. Utah Sept. 1,
2011), which does an excellent job of covering the bases for admission
of expert gang evidence.       Mr. Rapp’s objection is that the government
has failed to present sufficient methodology evidence to allow the
defendants to determine which of the officers’ opinions are based on
independent   judgment    as   opposed   to   simply   repeating      information
provided by other officers or individuals.                 The court disagrees.
Other than her comment that Officer Merino applied his individual
judgment and “expertise derived over many years and from multiple
sources” citing United States v. Johnson, 587 F.3d 625, 635 (4th Cir.
2009), Judge Campbell’s decision does not discuss “methodology.”5              It
seems reasonable to assume that she recognized that Officer Merino’s
methodology was derived from experience, which is very similar to how
Officers Webb and Nau developed the opinions initially disclosed in
writing and covered extensively at the hearings.

     5
      In a subsequent decision, not cited by the parties but attached
as Exhibit 3, Judge Campbell allowed the opinion.      She precluded
Officer Merino from using as the basis for his opinions “. . . any
information from alleged sources of that information whose identities
were not given to Defendants.      Those sources include those whom
Officer Merino described as “reliable source,” “witnesses and
victims,” “church leaders,” “concerned members of the community,” and
non-testifying “co-Defendants.”” Judge Campbell ruled that if during
trial, any defense counsel believes that Merino is relying on
undisclosed information, counsel may object. A similar rule may, or
may not, be appropriate in this case.     The specific issue is not
presently before the court.

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                                Conclusion
     After performing its “gatekeeping” role, the court finds that Nau
and Webb’s opinions are reliable, relevant and will be helpful to the
jury, assuming proper foundations are laid. Therefore, their opinions
are admissible, subject to appropriate objections at trial, the
substance of which cannot be determined and ruled upon at this time.
Defendants’ objections to Nau and Webb’s testimony are overruled.
(Docs. 608, 612, 619, 6216).


     IT IS SO ORDERED.
     Dated this   21st     day of May 2013, at Wichita, Kansas.


                                         s/ Monti Belot
                                         Monti L. Belot
                                         UNITED STATES DISTRICT JUDGE




     6
       Quezada’s motion in limine to exclude the testimony of Nau and
Webb is denied.

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